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         UNITED STATES DISTRICT COURT
         SOUTHERN DISTRICT OF NEW YORK

         ----------------------------------------x
         JATIEK SMITH,

                              Plaintiff,                         14 Civ. 5927

              -against-                                            OPINION

         CITY OF NEW YORK; COMMISSIONER OF CITY


         O.B.C.C. LISA COOPER, C.O. LEWIS, and
         C.O. GIST,

                              Defendants.



         A P P E A RA N C E S:


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Sweet, D.J.



           The defendants the City of New York (the "City"),

Commiss ioner of the New York City Department of Correction

Joseph Ponte (the " Commissioner") , Warden of the Otis Bantum

Correct ional Center (the " OBCC ") on Rikers Island Lisa Cooper

(the "Warden" ) , Correct ion Officer Lewis (" Lewis"), and

Correction Off icer Gist (" Gist " )       (co lle ct i vely , the

"Defendants" ) have moved for summary judgment pursuant to Rule

56, Fed . R. Civ . P. , to dismiss the Complaint of the prose

plaintiff Jatiek Smith ("Smith " or the "Plaintiff"). Upon the

facts and conclusions set forth below , the motion of the

Defendants i s granted , and the Complaint is d i smissed.



I.   Prior Proceedings



           The Plaintiff filed his Complaint on July 25 , 20 14

alleging that the Defendants violated his First Amendment rights

by retaliating against him for lodging grievances against Gist

and Lewis while h o used at the OBCC . Discovery proceeded , and the

instant motion was filed on August 12, 2016 and marked fully

submitted on November 2 1, 20 1 6 .




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II.   The Facts



           The facts have been set forth in the Defendants'

Statement pursuant to Local Rule 56.l and the affidavit of the

Plaintiff. They are not in dispute except as noted below.



           On March 28, 2014, a "regular facility search" was

being conducted in Plaintiff's housing area in the OBCC. The

Plaintiff claims that, during the search, he witnessed Lewis

"taking [his] personal property and throwing it into a garbage

bag." Upon observing his items being thrown out, Plaintiff

"became irate." The search team then escorted Plaintiff out of

his housing area and to the intake area.



           The Plaintiff claims that, in the intake area, he met

with non-party Assistant Deputy Warden Brooks ("Warden Brooks")

and an unknown officer and that while in the intake area he had

a "two to three minute[]" conversation with Warden Brooks during

which an unidentified officer was present. The Plaintiff alleges

that during that conversation, he complained of Lewis' conduct

during the search of his housing area and cell. After the

Plaintiff "explained everything to her," the Plaintiff states

that Warden Brooks directed the unidentified officer to escort


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him back to his housing area and that when he returned to his

housing area, he noticed that his food and bed linens were

missing.



           The Pla intiff did not see Lewis take his food or

linens and does not know who took his food or linens. Other

inmates told Plaintiff that non-party Officer Wilma took his

linens. The Plaintiff believes that Lewis took his food and

linens in retaliation for his Comp laints about her.



           Plaintiff also c laims that, on an unspecified date , he

"got into it with Officer Gist" and that an unspecified time

after that, Plaintiff "wrote a Complaint [about Gist] and put it

in the Warden's box." Gist does not pick up grievances from the

Warden's box. Plaintiff surmises that "one of the officers who

pick[s] up the grievances could have easily told [her] that [he]

put [her] name on grievances."



           The Plaintiff asserts that on April 14, 2014 , he

returned from court and attempted to make a phone call. Inmates

use Personal Identification Numbers     (" PINs") to make telephone

calls. The Plaintiff states that he noticed that his PIN was not

working. He is unsure how long his PIN did not work, but he


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knows for certa in that it was for fewer than five days. During

this time period when his PIN was not working , the Plaint iff was

still able to make telephone calls by using another inmate's

PIN . The Plaintiff is unsure why his PIN was not working ; all he

knows is "that the PIN number was wrong" and he surmises that an

officer changed his PIN and thinks that office was Gist. The

Plaintiff admits that any officer can "go into intake and get

the PIN number changed ."



          The Plaintiff also claims that on April 17, 2014 , he

had a visitor at OBCC and that his v isi tor was told that the

Plaintiff was still out to court , even though he was not. After

waiting , Plaintiff's visitor was eventually able to register and

visit him. The Plaintiff believes that his visitor was delayed

because of the grievance he filed against Gist.



          Since the filing of the Complaint, Plaintiff was

transferred out of New York City Department of Correction

custody and into New York State Department of Corrections and

Community Supervision custody , where he is currently

incarcerated.




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             The Plaintiff alleges a pattern of disregard of the

 Inmate Grievance Program, alleging that he was told he would pay

 for complaining and received direct threats, that the

 conclusions set forth by counsel for the Defendants are in

 error, and that he has not had depositions of the Defendants

 named in the Complaint.



III.   The Applicable Standard



             Summary judgment is appropriate only where "there is

 no genuine issue as to any material fact and .           . the moving

 party is entitled to a judgment as a matter of law." Fed. R .

 Civ . P . 56(c) . "[T]he substantive law will identify which facts

 are material." Anderson v. Liberty Lobby, Inc.,         477 U.S. 242,

 248   (1986).



             A dispute is "genuine" if "the evidence is such that a

 reasonable jury could return a verdict for the nonmoving party."

 Id. The relevant inquiry on application for summary judgment is

 "whether the evidence presents a sufficient disagreement to

 require submission to a jury or whether it is so one - sided that

 one party must prevail as a matter of law." Id . at 251-52.             A

 court is not charged with weighing the evidence and determining


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its truth, but with determining whether there is a genuine issue

for trial. Westinghouse Elec. Corp . v. N .Y. City Transit Auth.,

735 F. Supp. 1205, 1212 (S .D. N. Y. 1990 )    (quoting Anderson , 477

U. S . at 249). "[T]he mere existence of some alleged factual

dispute between the parties wil l not def eat an otherwise

properly supported motion for summary judgment; the requirement

is that there be no genuine i ssue of material fact. " Anderson ,

477 U.S. at 247 - 48 (emphasis in original) .



            While the moving party bears the initial burden of

showing that no genuine i ssue of material fact exists , Atl. Mut .

Ins.   Co . v. CSX Lines, L.L.C., 432 F.3d 428 , 433 (2d Cir. 2005),

in cases where the non - moving party bears the burden of

persuasion at trial , "the burden on the moving party may be

discharged by 'show ing'-that is , pointing out to the district

court-that there is an absence of evidence to support the

nonmoving party's case ." Celotex Corp . v . Catrett,      477 U. S . 317 ,

325 (1986) . "It is ordinarily sufficient for the movant to point

to a lack of ev idence        . on an essential element of the non-

movant's claim .           [T]h e nonmoving party must [ then ] come

forward with admissible evidence sufficient to raise a genuine

issue of fact for trial ." Jaramillo v. Weyerhaeuser Co ., 536

F . 3d 140, 145 (2d Cir. 2008)    (internal c i tations omitted) ; see


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also Goenaga v . March of Dimes Birth Defects Found ., 51 F.3d 14 ,

18 (2d Cir . 1995)   ("Once the moving party has made a properly

supported showing sufficient to suggest the absence of any

genuine issue as to a material fact, the nonmoving party

must come forward with evidence that would be sufficient to

support a jury verdict in his favor").       In evaluating the record

to determine whether there is a genuine issu e as to any material

fact , "[t]he evidence of the non-movant is to be believed , and

all justifiable inferences are to be drawn in his favor ."

Anderson , 477 U. S. at 255 .



           Because the Plaintiff is proceeding pro se, the Court

must "extend extra consideration," as "prose parties are to be

given special latitude on summary judgment motions ." Salahuddin

v . Coughlin , 999 F. Supp . 526 , 535 (S . D.N. Y. 1998)   (Peck , M.J . )

(citations and internal quotations omitted); see, e . g ., Erickson

v. Pardus, 551 U. S . 89 , 94   (2007)   ("A document filed pro se is

' to be liberally construed .'" )   (quoting Estelle v . Gamble, 429

U.S. 97 , 106 (1976)). Accordingly, this Court will construe the

Plaintiff's pleadings " to raise the strongest arguments that

they suggest. " Fulton v . Goord , 591 F.3d 37 , 43 (2d Cir . 2009)

(quoting Green v . United States , 260 F . 3d 78 , 83 (2d Cir.

2001)) . "Nevertheless, proceeding pro se does not otherwise


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relieve a litigant from the usual requirements of surmnary

 judgment, and a prose party's ' ba l d assertion ,' unsupported by

evidence, is not sufficient to overcome a motion for surmnary

 judgment." Bilal v. N.Y . State Dep ' t of Corr ., No. 09 CIV. 8433

JSR AJP , 2010 WL 2506988 , at *8      (S . D. N. Y. June 21 , 2010) ,

subsequently aff'd sub nom . Bilal v . White,        494 F. App ' x 143 (2d

Cir . 2012)     (interna l citation omitted) ; Whitfield v . O'Connell ,

No . 09 Civ. 1925 (WHP), 2010 WL 1 010060 , at *4         (S . D. N.Y . Mar .

1 8, 20 1 0)   (" [T]he court need not accept as true ' conclusions of

law or unwarranted deductions of fact.' " )        (quoting First

Nationwide Bank v . Gelt Funding Corp. , 27 F.3d 763 , 771            (2d Cir.

1994)) .




IV .    The Retaliation Claim Against Lewis is Dismissed



               To survive surmnary judgment , a plaintiff alleging a

First Amendment retaliation claim must show that : "(1) that the

speech or conduct at issue was protected ,         (2) that the defendant

took adverse action against the p l aintiff , and (3) that there

was a causal connection between the protected speech and the

adverse action. " Gill v . Pidlypchak, 389 F.3d 379 , 380 (2d Cir.

2004)    (quoting Dawes v. Walker, 239 F. 3d 489, 492          (2d. Cir.

2001), overruled on other grounds by Swierkiewicz v . Sorema

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N.A.,    534 U.S. 506 (2002), as recognized by Espinal v . Goard,

558 F.3d 119, 12 8 (2d Cir . 2009))). Plaintiff's "claim for

retaliation must be supported by specific and detailed factual

allegations, not stated in wholly conclusory terms." Thomas v.

Goard, 2 15 Fed. App ' x 51 , 53 (2d . Cir. 2007)     (internal quotation

marks and citations omitted ) . "Courts approach such retaliation

claims 'with skepticism and particular care ,' since 'virtually

any adverse act i on taken against a prisoner by a prison o fficial

- even those not rising to the level of a constitutional

v iolati on - can be characterized as a constitutionally

proscribed retaliatory act.'" Smith v. City of New York, No . 03

Civ. 7576 (NRB) , 2005 WL 1026551, at *3 (S . D.N.Y . May 3 , 2005)

(quoting Dawes, 239 F.3d at 491).



             The Defendants acknowledge that the Plaintiff has

shown that he engaged in constitutionally protected conduct

ins o far as he claims to have filed grievances against defendants

Gist and Lewis. See Colon v. Coughlin , 58 F . 3d 865 , 872        (2d Cir .

1995)    (holding that prisoners have a right to petition for

redress of grievances and that prison of ficials may not

retaliate against prisoners who exercise this right) . However,

even viewing the evidence in the light most favorable to the

Plaintiff, the Plaintiff has failed to prove by "specific and


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detailed factual allegations" that Lewis took adverse action

against the Plaintiff and that there was a causal connection

between the protected speech and the adverse action.



            The Plaintiff has alleged that Lewis threw out the

Plaintiff's food and bed linens in retaliation for a verbal

Complaint he made about her. As a preliminary matter, the

Plaintiff has failed to prove that Lewis engaged in the conduct

he alleges, supporting his claim only with conclusory

allegations, which are insufficient to create a genuine issue of

fact on summary judgment. See Thomas v. Goard, 215 Fed. App'x at

53.



            Plaintiff admits that he does not know who took his

food or linen. He acknowledges that he did not see Lewis take

his food.   See Plaintiff's Aff. in Opp'n to Mot. for Summary

Judgment, November 3, 2015,     ~   7 (stating that "he did not

actually see Lewis remove his property"). He simply claims that

"[his] linen was there when he left the housing area" and that

"when [he] came back,    [he] had no linen." The only support

Plaintiff offers of his claim is his conjectural testimony that

Lewis threw out his property, urging that even though he did not

see Lewis take his property, "she was the only person by his bed


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prior to [Plaintiff] being removed from the area" so she must

have taken it . However , Plaintiff ' s contention is contrad i cted

by his deposition testimony . At his deposition , the Pl aintiff

"officers were still at [his] bed, going through [his[ area ,

while [he] was out of the area" ; he only now states that Lewis

was the only person by his bed before Plaintiff left the housing

area . The Second Circuit has held that a plaintiff cannot defeat

summary judgment by simply contradicting his or her own

deposition testimony . See Brown v. Henderson , 257 F . 3d 246, 252

(2d Cir . 2001)   ("[F]actual allegations that might otherwise

defeat a motion for summary judgment will not be permitted to do

so when they are made for the first time in the plaintiff ' s

affidavit opposing summary judgment and that affidavit

contradicts her own prior deposition testimony.")        (citations

omitted).



            Even if the Plaintiff had sufficiently alleged that it

was Defendant Lewis who took the Plaintiff ' s food and bed

linens , the alleged conduct does not constitute adverse action .



            Adverse action is conduct that " would deter a

similarly situated individual of ordinary firmness from

exercising his or her constitutional rights .            . Otherwise ,


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the retaliatory act is simply de minimis , and therefore outside

the ambit of constitutional protection ." Dawes, 239 F. 3d at 492-

93 (citations omitted) ; see also Davidson v . Chestnut , 193 F. 3d

144 , 150 - 51   (2d Cir . 1999)    (de minimis acts of retaliation do

not chi ll the exercise of constitutional rights , and thus are

insuff i cient to support a First Amendment retaliation claim) ;

Crawford-El v . Britton , 93 F . 3d 813 , 826 (D . C . Cir . 1996)         (en

bane)    (approving similar standard on the ground that " some non-

de minimis showing of injury is necessary " ) , vacated on other

grounds , 523 U. S . 574      (1998)) . What constitutes adverse action

is context - specific , and " [p]risoners may be requ i red to

tolerate more than .             average cit i zens , before [retaliatory]

action taken against them is considered adverse . " Smith , 2005 WL

1026551 , at *3 (quoting Thaddeus-Xv . Blatter , 175 F.3d 378 , 394

(6th Cir . 1999) , cited with approval in Davidson , 193 F . 3d at

150.)



             "[T]he confiscation or destruction of property taken

at the time of .        . searches may ," but does not always ,

constitute an adverse action . Keesh v . Goard, No . 04-CV-271 ,

2007 WL 2903682 at *8         (W . D. N.Y . Oct. 1 , 2007) ; see also , e . g .,

Smith v . City of N . Y. , 03 Civ . 7576 , 2005 WL 1026551 at *3

(S . D. N. Y. May 3 , 2005)    ("[R ] etaliatory destruction of a


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prisoner 's personal property has previously been found

substantial enough to qualify as an adverse action " ) . "[M]inor

cases of withholding property are typically de minimis ." Shannon

v. Venettozzi , No . 13 CIV. 4530 KBF , 20 15 WL 114179 , at *6

(S . D. N. Y. Jan. 8 , 2015) , aff ' d in part, vacated in part,     670 F.

App ' x 29 (2d Cir. 2016) . In Shannon , f o r example , the court

dismissed the prose plaintiff ' s retaliation claim against the

defendant cor r ect i on of ficer " [a]s confisca ting one magazine

would not deter a similarly situated individual from fi li ng

grievances and is [therefore] a de minimis action ." Id.



           That Lewis allegedly threw out the Plaintiff's food

and bed linen is not a "substantial enough [injury] to deter

legitimate grievances against prison officers. " Salahuddin v .

Mead , No . 95 Civ . 8581(MBM) , 2002 WL 1 968329 , at *4       (S .D.N.Y.

Aug.26 , 2002) ; see also Shannon , 2015 WL 114 1 79 , at *6 . Because

it is not conduct that "would deter a similarly situated

individual of ord inar y firmness from exercising his o r her

constitutional rights ," Dawes, 239 F.3d at 492-93 , the Plaint i ff

cannot meet the adverse action prong of the First Amendment

retaliation claim test . See Fann v . Arnold , No . 14-CV-6187-FPG,

2016 WL 2858927 , at *2   (W . D. N. Y. May 1 6 , 20 16)   (holding that the

pla in t i ff ' s allegation of property destruction "c o nstitute[d] a


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de min i mis act of retal i ation" where the p l aint i ff had al l eged

t h at " all of his property was thrown i n the shower " ) ; Quezada v .

Fi sch er , 2016 U. S . Dist . LEXIS 19157 , *47 , 49 - 50   (N . D. N. Y. Feb .

16 , 2016)   (holding that " putting Plaintiff ' s sheet , l otion , and

shampoo in the garbage is not in and enough itself sufficient to

consti t ute and adverse action ." ) ; McFadden v . Friedman , No .

9:12 - CV - 0685 GTS/CFH , 2015 WL 5603433 , at *12     (N.D.N.Y . Sept .

23 , 2015)   (confiscation of pla i ntiff ' s fan would "not [deter] a

simi l arly situated individual of ord i nary firmness from

exercising his constitutional rights ," and is "not substant i al

enough to deter legitimate grievances against prison officers " )



             In addition , to establish a First Amendment claim for

retaliation , the Plaintiff must present evidence show i ng that

there was a causal connection between the protected speech and

the adverse action , which he has fai l ed to do .



             In order to prove a causal connection, the Pl aint i ff

must s h ow that his prior filing of grievances was a "substantial

or mot i vating factor " in Lewis ' s alleged confiscation of the

Pla i ntiff ' s food and linens. See Gayle v . Gonyea , 313 F.3d 677 ,

682 (2d Cir . 2002)    (quoting Graham v . Henderson , 89 F . 3d 75 , 79

(2d Cir . 1996). In other words , for the third prong of the First


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Amendment retaliation claim test , a p l aintiff "must allege facts

sufficient to support an inference that his protected conduct

played a substantial part in the adverse action taken against

him. " Shekhem ' El-Bey v . City of N.Y. , 419 F. Supp. 2d 546 , 552

(S .D.N. Y. 2006)   (citing Diesel v . Town of Lewisboro , 232 F. 3d

92 , 107 (2d Cir . 2000)) .



            " A plaintiff can establish a causal connection that

suggests retaliati on by showing that protected activity was

close i n time to the adverse action." Espinal v . Goard , 558 F.3d

119, 129 (2d Cir. 2009). However , a showing of temporal

proximity , without more , has been found insufficient in this

context to survive summary judgment . See Roseboro v. Gillespie ,

791 F. Supp. 2d 353, 370 (S.D .N.Y. 2011) ; Williams v . Goard, 111

F. Supp. 2d 280 , 290 (S . D. N.Y . 2000)   ("Although the temporal

proximity of the filing of the grievance and the issuance of the

misbehavior report is c ir cumstant ial evidence of retaliation ,

such evidence , without more , is ins u fficient to survive summary

judgment." ) .



           Here , the Plaintiff has failed to establish a causal

connection between the alleged retaliatory conduct and

Plaintiff's grievance. The Plaintiff test i fied that while Lewis


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pu r ported l y searched his ce l l , he was escorted to the intake

area and had a " two to three minute [] " conversation with Warden

Brooks , during which an unidentified off i cer was present . The

Pla i nt i ff testified that he complained of Lewis ' conduct during

the search of his housing area and cell to Warden Brooks . After

he " explained everything to her , " Warden Brooks directed the

unidentified officer to escort him back to his housing area . He

cla i ms that after this conversation , he returned to his housing

area and noticed that his food and linen were missing . The

al l eged adverse action cannot have been a result of Plaintiff ' s

protected conduct because these two occurrences took place too

close in time to suggest retaliation .



           Accepting Plaintiff ' s version as true , it has not been

establ i shed that Lewis was aware or even could have been aware

of the verbal grievances Plaintiff made to Warden Brooks and the

unknown officer given the timing the Plaintiff alleges .

Immediately after Plaintiff made these Complaints , Warden Brooks

directed the unident i fied officer to escort him to his housing

area , and upon arriva l, his property was already missing ,

al l egedly taken by Lewis. As such , Pl aintiff ' s cla i m against

Lewis fails to estab l ish a causal connection between h i s

gr i evance and her alleged conduct . Cagle v . Perry , 04 CV 11 51


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(TJM )    (GHL) , 2007 U. S . Dist. LEXIS 99932 , at *48    (N.D.N.Y . Sept .

19, 2007)      (dismissing retaliation claim against correction

officer where plaintiff failed to provide facts that defendants

" had any reason to know about [p]laintiff's previous

Complaint") .



              In his response papers , the Plaintiff presents a new

theory of retaliation and contends that he filed a grievance

against Gist , that Gist then told Lewis about that grievance,

and that Lewis then retaliated against Plaintiff for this

grievance . As with the Plaintiff's initial version of events ,

the Plaintiff sets forth no evidence to suggest that Lewis had

any knowledge of the alleged Gist grievance , or that this

grievance was made close in time to the alleged retaliation by

Lewis.



              As such , Plaintiff's claim aga in st Lewis is dismissed

as a matter of law in the absence of adverse action and for

failure to establish causation .




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V.   The Retaliation Claim Against Gist is Dismissed



          The Plaintiff has alleged that Gist engaged in adverse

action in retaliation for his filing a grievance against her in

two ways : Gist caused a visitor to be delayed on one occasion,

and Gist changed the PIN which the Plaintiff used to make

telephone calls. Neither of these alleged actions constitute

adverse actions .



          The Plaintiff states that his "visitor was told on

numerous occasions that I was still out to Court. After waiting

she was finally allowed to register and visit me ." Plaintiff

further states that he "beli eve[s ] this is in retaliation to

[his] grievances ." The Plaintiff has offered no evidence that

Gist was in any way responsible for or the cause of his v isitor

being delayed. Even assuming that Plaintiff has proven that Gist

caused his visitor to be delayed on that date, her alleged

conduct does not constitute adverse action. The Southern

District has held that "a single denial of visitation, even if

intentional and unjustified, is nevertheless unlikely to chill a

person of ordinary firmness from continuing to exercise his

right to file grievances." Mateo v. Heath, No. 11 CIV . 636 LAP ,

2012 WL 1075836 , at *4   (S.D . N.Y. Mar. 29 , 2012)   (citing Ross v.


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Westchester Cnty . Jail , No . 10 Civ . 3937 , 2012 WL 86467 , at *7

(S . D. N. Y. Jan. 11, 2012)) . If complete denial of a visitor on

one occasion does not amount to adverse action , a delay o f a

vis i t on a single occasion does not amount to adverse action

either. See id.



            Plaintiff also alleges that Gist retaliated aga i nst

him for filing a grievance against her by changing his inmate

PIN , thereby preventing him from making telephone calls using

his PI N. Specifically , the Plaintiff claims that on April 14,

2014 , he returned from court and was unable to make a telephone

call because his PIN had been changed . Plaintiff has not

presented any evidence that Gi st actually engaged in the conduct

a ll eged . Rather , Plaintiff offers only specu l ative testimony in

support of his claim , and he admits that any officer could have

changed h i s PIN . When asked who changed his PIN , plaintiff

testified , " I don ' t   know. Any officer could go to intake and get

the PIN number changed. " In fact , Plaintiff has not offered any

evidence that his number being changed was due to the conduct of

any officer , as opposed to a mere systematic error .

Sign i ficantly , Plaintiff acknowledged that he , in fact , has no

idea how his PIN got changed ; all he knows i s "that the PIN

number was wrong ."


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           Not only has the Plaintiff alleged no facts showing

that Gi st changed the PIN, but the Southern District has held

that temporary loss of telephone privileges does not constitute

adverse action. Garcia v . Watts , 08 CV 7778      (JSR)   (HP) , 2009

U.S. Dist. LEXIS 856 1 3 , at *8   (S . D.N. Y. Sept . 14, 2009)   ("Given

t hat the alleged retaliatory conduct was limited to .             . a

temporary , but suspended , loss of telephone privileges , it is

also doubtful that the Complaint a ll eges facts suff i c i ent to

satisfy [the adverse action] element ." ) . Just as in Garcia , the

Plaintiff's use of his PIN was only temporarily delayed ;

although he does not recall precisely how long his PIN was not

working, it was for fewer than five days . Fur ther , Plaintiff

testified that he was still able to make telephone cal l s during

this short t i me per i od by borrowing another inmate ' s PI N.

Plaintiff's temporary de l ay in making phone calls using his own

PIN - even when coupled with the purported single delay in

receiving a visitor - does not amount to adverse action.



           The Plaint i ff must also , and has failed to , establish

a "caus al connect i on " between the protected speech and the

alleged adverse actions by Gi st . See Dawes , 239 F.3d at 492 .




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           The Plaintiff ' s cla ims that Gist retaliated against

him for filin g a grievance against her are "conclusory and

almost entirely circumstantial ." Mateo , 2012 WL 1075836 , at *4 .

The Plaintiff merely surmises that Gist became aware o f a

grievance he dropped off in a box designated for inmate

grievances on an unspecified date .



           In his papers , the Plaintiff states: "As stated in the

Comp l aint , all of the issues complained of therein took p l ace

after Pla i ntiff .     had an argument with Gist , which he filed

a grievance upon . Only , af t er these eve nts        i s when al l of

the reta li atory even ts within the Complaint took place. "

Add i tionally , the Plaintiff testified at his deposition as

follows:



           Q:     So Officer Gist picks up the grievances?

           A:    No . She does commissary . I don ' t know what
     officer picks up the grievances . But , like I said , one
     of th e of ficers who pick up the grievances could have
     easily told them that I put their name on the
     grievances.

          Q:   So you don ' t know for sure how Correction
     Officer Gist found out about these grievances?

          A:   No . Well , I said I did one Comp laint with
     her name. So they probably went and spoke to her . If
     the warden and them got it , they probably went and
     spoke to her and told her , like , " What happened with


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      this inmate? " So that ' s how she probably knows about
      it. (Dep. of Jatiek Smit h, p. 101 : 8 - 19).


               These conclusory asse r t i ons are in sufficient to

demonstrate a causal connection between Plaintiff ' s gr i evance

and the all eged reta li atory co nd u ct . Th e Plaintiff has offered

n o evidence , al l eged n o facts, to support his assumption that

Gist was aware of the grievance or engaged i n the alleged

r eta liat o r y conduct .



               The Plaintiff ' s retaliation claim against Gist is

dismissed for lack o f adverse action and l ack of causation.



VI.   The Claims Against the Commissioner and the Warden Are

      Dismissed



               Section 1 983 imposes li ability for " conduct which

 'subjects, or causes to be subjected ' the comp l ainant t o a

deprivation of a right secured by the Const it ut i on and l aws ."

Williams v . Smith , 781 F. 2d 319 , 323 (2d Ci r. 1986)          (qu oting

Rizzo v . Goode , 423 U. S . 362 , 370 - 71 ( 1 976)) . Acco r d ingl y ,

"pers ona l involvement of defendants in alleged co nstituti o nal

deprivations is a prerequisite to an award of damages under                   §

1 983 ." Id.    (quoting McKinnon v . Patterson, 568 F. 2d 930 , 934              (2d


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Cir. 1977) , cert . denied,      434 U. S. 1087 (1978)) . Personal

involvement in a Section 1983 violation may be shown by evidence

that : " (l) the defendant participated directly in the a l leged

constitut i onal violation ,     (2) the defendant , after being

informed of the violation through a report or appeal , failed to

remedy the wrong,      (3) the defendant created a policy or custom

under which unconstitutional practices occurred , or allowed the

continuance of such a policy or custom ,        (4) the defendant was

grossly negligent in supervising subordinates who committed the

wrongfu l acts , or (5) the defendant exhibited deliberate

indifference to the rights of inmates by failing to act on

information indicating that unconstitutional acts were

occurr i ng ." Colon , 58 F.3d at 873 (citing Wright v . Smith , 21

F . 3d 634 , 644   (2d . Cir . 1994)) .



             In this case , the Complaint does not contain any

factual a l legations regarding either the Commissioner or the

Warden ' s involvement in the a l leged incidents , nor has Plaintiff

adduced any evidence that either individual was personal l y

i nvolved in the alleged incidents in any of the ways set forth

in Colon .




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                Plaintiff stat es in his opposition briefing that he

"tried on numerous occasions to engage the Commissioner and the

Warden with issues raised through the Inmate Grievance Program

within the Department of Corrections ," and that " defendant

Cooper was directly informed of the retaliatory actions of her

staff and chose to do nothing to correct their behavior ." These

assertions do not establish that the Plaintiff did , in fact ,

inform the Commissioner of the alleged constitutional

v i o l at i ons.



                Even assuming arguendo that the Commissioner and the

Warden were aware of Plaintiff ' s Complaints , these allegations

a r e insufficient to establish their personal involvement ; " [t]he

United States Supreme Court clarified that a supervisor ' s mere

' know l edge and acquiescence '   cannot establish personal

invo l vement under§ 19 83 . " Faulk v . N . Y. City Dep ' t of Corr .,

No. 08 CIV . 01668 LGS , 2014 WL 239708 , at *10       (S . D.N.Y . Jan . 21 ,

2014)     (c i ting Ashcroft v . Iqbal , 556 U.S. 662 , 677   (2009)) . As

such , " mere Complaints made to supervisory defendants are not

enough to establish supervisory liability under§ 1983 ." Id .

(citing Rivera v . Goord , 119 F . Supp.2d 327 , 344 - 45 (S . D. N. Y.

2000)) . Here , the record i s devoid of any evidence to allow a

reasonable jury to conclude that the Commissioner and the Warden


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 were p e rs ona ll y involved in the al l eged const ituti ona l

 v i o lati o ns. See id .    (dismiss ing the plaintiff's c laims against

 warden defenda nt for l ack of personal involvement where "[t]he

 only evidence in the record is that Plaintiff spoke to Warden

 Shaw several times about his grievances") .



              Th e c l a ims against t h e Commissi oner and the Warden are

 dismissed for lack of personal involvement.



VII.   The Mone11 Claim is Dismissed



              As set f orth above , the Defendants d i d not violate

 Plaintiff's const ituti onal r igh ts , and t h erefore , his c laim for

 municipal liability fails as a matter of l aw . See Ci ty of Los

 Angeles v . Heller,         475 U.S . 796 , 799 (1986) ; Segal v . City of

 New York,    459 F . 3d 207 , 219 (2d Cir . 2006)       (" Monel l does n ot

 provide a separate ca u se of act i on for the failure by the

 government to tra in i ts employees ; it extends li ability to a

 muni c ipal organ iza t i on where that organization ' s failure t o

 train, or the pol i c i es o r c ust oms that it has sanctioned, l ed t o

 an independent const i tut i ona l v i olation ." ) .




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            In addition , the Plaintiff has failed to allege a            §


1983 cause of action for municipal liability under Monell v .

Dep ' t of Soc. Servs . o f City of N . Y. , 436 U. S. 658    (1978) . To

sustain a cause of action against a municipality for liability

under 42 U.S . C .   §   1983, a plaintiff must demonstrate that the

municipality was at fault . Oklahoma City v . Tuttle , 471 U.S.

808 , 810 (1985); see also Monell,         436 U. S . at 691 (municipal

liability exists only where "action pursuant to official

municipal policy of some nature caused a constitutional tort").

The municipality ' s fault can be established by alleging : 1) a

formal policy , promulgated or adopted by the City , Monell , 436

U.S . at 690; 2) that an official with policymaking authority

took action or made a specific decision which caused the alleged

violation of constitutional rights , Pembaur v . City o f

Cincinnati , 475 U. S. 469 , 483-84        (1986) ; 3) the existence of an

unlawfu l practice by subordinate officials was so permanent or

well-settled so as to constitute a           ' custom or usage ' and that

the practice was so widespread as to imply the constructive

acquiescence of policymaking officials , City of St . Louis v .

Praprotnik,   485 U. S. 11 2 , 127 (1988) ; or 4) a failure to train

or supervise that amounted to "deliberate indifference " to the

r i ghts of those with whom the municipality ' s employees

interacted , City of Canton v . Harris , 489 U. S . 378 , 388       (1989) .


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               A single , isolated incident of an alleged violat i on of

cons t i tut ional rights is insufficient to support a c laim for

municipal li ability. See Oklahoma City, 471 U. S . at 83 1

(Brennan , J ., concurring in part and concurr ing in judgment)

( "T o infer the existence of a city policy from the is olated

misconduct of a single , l ow - level officer , and then to hold the

city liable on the basis of that policy , would amount to

permitting precisely the theory of strict respondeat superior

liability rejected in Monell ." ) ; Nunez v . City of N . Y ., No . 14 -

CV- 04035 WFK LB , 2014 WL 4175791 , at *2        (E.D.N . Y. Aug . 20 , 2014)

( " A single in c ident of unconstitutional activity is not

suffic ient to imp ose liability o n a municipality unless a

plaint i ff can establish that it was caused by an existing ,

unconstitutional municipal policy.")          (cit ing Oklahoma City) .

This is particularly relevant under the third theory o f

municipal liability - the "wide - spread unlawful practice " theory

- for which a plaintiff must provide evidence of more than

isolated incidents to subject the City to liability. See Escobar

v . City of New York , 766 F. Supp. 2d 415, 420 - 421         (E .D. N . Y.

20 11 )    (rejecting municipal liability based on a widespread

policy theory in part because the pla i ntiff offered only

i so l ated incidents as ev idence) ; Edwards v . City of New York ,

03-CV-9407 , 2005 WL 3466009 , at *11        (S.D . N. Y. Dec . 19 , 2005)


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              ("[Monell] would be rendered sterile if , as plaintiff asserts ,

             mere conclusory allegations of a few isolated incidents ... were

             sufficient to hold the municipality liable ." ) ; see also Curry v .

             City of Syracuse , 316 F.3d 324 , 330 (2d Cir . 2003)       (" Under

             Monell , a municipality may not be held liable under         §   1983

             simply for the isolated unconstitutional acts of its

             employees") .



                         The Plaintiff has not set forth any allegations

             against the City of New York , thereby failing to state a c laim

             for municipal liability , and further has not adduced any

             evidence in support of this c laim and , therefore , cannot show a

             genuine issue of material fact regarding on the Monell cla i m.



           VIII.   The Claim for Injunctive Relief is Moot



                         In addition to compensatory damages , the Plaintiff

             seeks a "preliminary and permanent injun ction ordering

             defendants Ponte and Cooper to cease their use of the procedures

             listed in the facts of [his] Complaint. " Complaint , p . 5 .

             Because Plaintiff is no longer in New York City Department of

             Correction custody , his claims for injunct ive relief are moot .




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               In order for a federal court to retain jurisdiction

over a case , an actual controversy must exist " at all stages of

review , not merely at the time the Complaint is filed ." Freiser

v. Newkirk , 422 U.S . 395 , 402    (1975)   (c i tations omitted) . A case

is deemed moot where the problem sought to be remedied has

ceased , and where there is "no reasonable expectation that the

wrong wi ll be repeated." Id.      (internal quotation marks and

citations omitted) .



               "It is settled in this Circuit that a transfer from a

prison facility moots an action for injunctive relief against

the transferring facility. " Prins v . Coughlin , 76 F . 3d 504 , 506

(2d Cir . 1 996) . The Plaintiff ' s c laims arose while he was housed

in OBCC , a New York City Department of Correction facility .

However, since the filing of the Complaint , the Plaintiff has

been transferred out of New York City Department of Correction

custody and into New York State Department of Corrections and

Community Supervision custody , where he is current l y

incarcerated. His transfer fr om OBCC to a facility o utside of

the New York City Department of Correct i o n system renders his

claims moot. See Mawhinney v . Henderson , 542 F.2d 1 , 2 (2d Cir .

N. Y. 1976 )    (holding that plaintiff ' s request for an injunction

"restraining the offic ials at Auburn from violating his civil


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                 rights [was] moot " where plaintiff had been transferred from one

                 New York State correctional facility to another New York State

                 correct i onal facility) ; Hunter v . City of New York , No . 10 - CV-

                 3532    (RA) , 2015 U. S . Dist. LEXIS 1 30432   (S.D.N . Y. Sept. 28 ,

                 2015)    (ho l ding that plaintiff ' s request for an injunction was

                 moot where he was transferred from the Manhattan Detention

                 Complex - a city facility - to Green Haven Correctional Facility

                 - a state facility) .



                              Accordingly , the Plaintiff ' s claim for injunctive

                 rel i ef is dismissed .



                 IX .    Any Remaining Deprivation Without Due Process Claim is

                         Dismissed



                              Although the Complaint does not clearly define the

                 Plaintiff ' s various causes of action , it could be read to assert

                 a claim under the Fourteenth Amendment for deprivat i on of

                 property without due process of law for Lewis ' alleged conduct

                 i n throw i ng out Plaintiff ' s food and bed linen . Even assuming

                 that Plaintiff did offer sufficient proof of Lewis '          conduct ,

                 such c l aim fails as a matter of law .




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              It is well - established that a claim for deprivation of

property without due process of law "cannot be brought in

federal court if the relevant state court provides an adequate

remedy for the depr i vation of [the property at issue]. " Mateo v .

Bristow, No . 12 CIV . 5052 RJS , 2013 WL 3863865 , at *6 (S . D.N . Y.

Ju l y 1 6 , 2013)   (quoting Key v . Tanoury, No . 05 Civ . 10461 (SHS) ,

2006 WL 3208548 , at *2 (S.D . N. Y. Nov . 3 , 2006)) . Second Circuit

courts have consistently held that " New York State provides such

a remedy in Section 9 of the New York Court of Claims Act , which

permits an inmate .          . to pursue his claim for deprivation of

property against the State in the Court of Claims. " Tanoury ,

2006 WL 3208548 , at *2 (citing N. Y. CT. CL . ACT§ 9) . The

Plainti f f has access to this remedy under New York State Law ; as

such , he cannot state a claim for deprivation of property

pursuant to 42 U.S . C. § 1983. See Mateo v . Bristow, 2013 WL

3863865 , at *18 - 19 (" [S]ection 1983[ can]not be made a vehicle

for transforming mere civil tort injuries into constitutional

injur i es ." )   (quoting Franco v. Kelly , 854 F . 2d 584 , 588   (2d Cir .

1 988) , overruled on other grounds by Swierkiewicz v . Sorema

N . A. , 534 U. S . 506   (2002)) . Accordingly , to the extent that

Plaintiff asserts a constitutional claim for deprivation of

property , the claim is dismissed.




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     X.   Conclusion




                 Th e Defendant ' s motion for summary judgment is

     granted .



                 It is so ordered .



     New York, NY
     May J ~ 2017




                                             ROBERT W. SWEET
                                                 U.S.D.J.




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